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                   Master Mailing Matrix - part 4 Page 14 of 45
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                   Master Mailing Matrix - part 4 Page 17 of 45
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                   Master Mailing Matrix - part 4 Page 18 of 45
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                   Master Mailing Matrix - part 4 Page 19 of 45
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                   Master Mailing Matrix - part 4 Page 20 of 45
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                   Master Mailing Matrix - part 4 Page 21 of 45
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                   Master Mailing Matrix - part 4 Page 23 of 45
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                   Master Mailing Matrix - part 4 Page 24 of 45
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                   Master Mailing Matrix - part 4 Page 25 of 45
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                   Master Mailing Matrix - part 4 Page 26 of 45
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                   Master Mailing Matrix - part 4 Page 27 of 45
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                   Master Mailing Matrix - part 4 Page 28 of 45
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                   Master Mailing Matrix - part 4 Page 29 of 45
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                   Master Mailing Matrix - part 4 Page 33 of 45
Case 2:10-bk-46350-BB Doc 1-4 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 4 Page 34 of 45
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Case 2:10-bk-46350-BB Doc 1-4 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 4 Page 39 of 45
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Case 2:10-bk-46350-BB Doc 1-4 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 4 Page 42 of 45
Case 2:10-bk-46350-BB Doc 1-4 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 4 Page 43 of 45
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